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                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10     UNITED STATES OF AMERICA,
                                  11                   Plaintiff,                          No. CR 14-00175 WHA

                                  12             v.
Northern District of California
 United States District Court




                                  13     PACIFIC GAS AND ELECTRIC                          NOTICE INVITING COMMENTS
                                         COMPANY,                                          FROM INTERESTED PARTIES
                                  14
                                                       Defendant.
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                                  16          In response to an April 2020 order modifying offender PG&E’s conditions of probations,

                                  17   the United States Government, the Federal Monitor, and PG&E have submitted joint proposed

                                  18   probation conditions “aimed at addressing the Court’s concerns regarding PG&E’s vegetation

                                  19   management and transmission inspection programs” (Dkt. Nos. 1186, 1227).

                                  20          This order now gives any interested party an opportunity to comment on whether and the

                                  21   extent to which these joint proposed probation conditions should be accepted. Comments, if any,

                                  22   must be filed by JULY 16 AT NOON.

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                                  24    Dated: July 1, 2020.

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                                                                                             WILLIAM ALSUP
                                  27                                                         UNITED STATES DISTRICT JUDGE

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